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                                                                   USDC-SDNY
UNITED STATES DISTRICT COURT                                       DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                      ELECTRONICALLY FILED
                                                                   DOC#:
 JENNIFER ECKHART,                                                 DATE FILED: 10-21-20

                             Plaintiff,
                                                                     20-CV-5593 (RA)
                        v.
                                                                          ORDER
 FOX NEWS NETWORK, LLC, et al.,

                             Defendants.



RONNIE ABRAMS, United States District Judge:

         In light of the Order issued by the Court severing Ms. Areu’s claims from Ms. Eckhart’s, the

Clerk of Court is respectfully directed to strike from the record the motion to dismiss and accompanying

documents filed at docket entries 86, 87 and 88.

SO ORDERED.

Dated:      October 21, 2020
            New York, New York

                                                   RONNIE ABRAMS
                                                   United States District Judge
